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	Disclaimer: The information and documents available here should not be relied upon as an official record of action.Only filed documents can be viewed.  Some documents received in a case may not be available for viewing.Some documents originating from a lower court, including records and appendices, may not be available for viewing.For official records, please contact the Clerk of the Supreme Court of Nevada at (775) 684-1600.



	
	
	
	

Case Information: 62770


Short Caption:CLAY (BRYAN) VS. DIST. CT. (STATE)Classification:Original Proceeding - Criminal - Mandamus/Prohibition


Lower Court Case(s):Clark Co. - Eighth Judicial District - C281930, J300432Case Status:To Be Rescheduled For Argument


Disqualifications:Panel Assigned:
					En Banc
					


Replacement:


To SP/Judge:SP Status:


Oral Argument:Oral Argument Location:


Submission Date:How Submitted:


	

	
		

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						Party Information
					


RoleParty NameRepresented By


Amicus CuriaeCity of Henderson


Amicus CuriaeNevada Attorneys for Criminal JusticeSharon G Dickinson
							(Clark County Public Defender)
						William M. Waters
							(Clark County Public Defender)
						


PetitionerBryan ClayChristopher R. OramAnthony P. Sgro
							(Patti, Sgro &amp; Lewis)
						


Real Party in InterestThe State of NevadaCatherine Cortez Masto
							(Attorney General/Carson City)
						Steven S. Owens
							(Clark County District Attorney)
						Jonathan VanBoskerck
							(Clark County District Attorney)
						


RespondentThe Eighth Judicial District Court of the State of Nevada, in and for the County of Clark


RespondentWilliam O. Voy


		
	

	
	
	
	
		13-35851: This document is currently unavailable. If you need a copy of this document, please contact Clerk's Office at (775)684-1600.
	

	
		

Docket Entries


DateTypeDescriptionPending?Document


03/12/2013Filing FeePetition Filing fee waived.  Criminal.


03/12/2013Petition/WritFiled  Petition for Writ of Mandamus or Writ of Prohibition.13-07354




03/12/2013AppendixFiled Appendix to Petition for Writ of Mandamus or Writ of Prohibition.13-07356




03/12/2013AppendixFiled Errata to Appendix to Petition for Writ of Mandamus/Prohibition.13-07425




03/15/2013Order/ProceduralFiled Order/Answer Writ Petition. Answer due:  20 days.13-07897




03/28/2013Petition/WritFiled Answer to Petition for Writ of Mandamus/Prohibition.13-09194




03/28/2013AppendixFiled Respondent's Appendix.13-09195




11/27/2013Opinion/DispositionalFiled Authored Opinion. "Petition granted." Before Gibbons/Douglas/Saitta. Author: Saitta, J. Majority: Gibbons/Douglas/Saitta. 129 Nev. Adv. Opn. No. 91. SNP13  (OPINION RECALLED PER ORDER 6/23/2014).13-35851




11/27/2013WritIssued Writ with letter. Original and one copy of writ and copy of opinion mailed to Anthony P. Sgro for service upon Judge William O. Voy.13-35935




12/03/2013Post-Judgment PetitionFiled States Petition for Rehearing.13-36280




12/05/2013Order/ProceduralFiled Order Directing Answer to Petition for Rehearing. Petitioner: Answer due: 15 days.13-36536




12/19/2013WritFiled Returned Writ. Original Writ returned. Served on Judge William O. Voy on 12/11/13.  (WRIT RECALLED PER ORDER 6/23/2014).13-38607




12/23/2013Order/Clerk'sFiled Order Granting Telephonic Extension. Answer to the petition for rehearing due: December 30, 2013.13-39041




12/31/2013Post-Judgment PetitionFiled Answer to Petition for Rehearing.13-39642




02/07/2014Post-Judgment OrderFiled Order Denying Rehearing. "Rehearing Denied." NRAP 40(c).14-04101




02/12/2014Post-Judgment PetitionFiled Petition for En Banc Reconsideration. (Real Party in Interest)14-04580




04/23/2014Order/ProceduralFiled Order Directing Answer to Petition for En Banc Reconsideration.  Petitioner's Answer due:  15 days.14-13009




05/12/2014Order/Clerk'sFiled Order Granting Telephonic Extension.  Petitioner's Answer to Petittion for En Banc Reconsideraton due:  May 15, 2014.14-15227




05/16/2014Post-Judgment PetitionFiled Answer to Petition for En Banc Reconsideration.14-15966




06/23/2014Post-Judgment OrderFiled Order Granting Reconsideration, Reinstating Petition for Writ Relief and Directing Supplemental Briefing and Argument.  We grant reconsideration, recall the panel opinion and writ issued in this matter, and direct the filing of supplemental briefs.  Petitioner's supplemental brief due:  20 days.  Real Party in Interest's supplemental brief due:  20 days thereafter.  Upon completion of the briefing, the clerk shall set this matter for oral argument before the en banc court.14-20487




07/11/2014MotionFiled Motion to Continue Deadline for Supplemental Brief Regarding En Banc Reconsideration Pursuant to NRAP 26(b) (Unopposed)14-22686




07/25/2014Order/ProceduralFiled Order Granting Motion. Petitioner shall have until August 11, 2014, to file and serve the supplemental brief.14-24261




08/12/2014BriefFiled Supplemental Brief for En Banc Reconsideration.14-26327




08/19/2014MotionFiled Motion for Leave to File Amicus Curiae Brief in Support of Petitioner Brian Clay Urging This Court to Affirm Clay V. Eighth Judicial District Court.14-27118




08/19/2014BriefReceived Amicus Curiae Brief in Support of Petitioner Brian Clay. (FILED PER ORDER 9/19/14)


08/26/2014MotionFiled Opposition to Motion for Leave to File Amicus Curiae Brief.14-28235




09/02/2014MotionFiled Reply in Support of Motion for Leave to File Amicus Curiae Brief in Support of Petitioner Brian Clay Urging This Court to Affirm Clay v. EJDC.14-28761




09/02/2014BriefFiled Respondent's Supplemental Brief.14-28762




09/05/2014Order/Clerk'sFiled Order Re: Scheduling of Oral Argument. This matter will be scheduled for oral argument on the next available calendar.14-29357




09/19/2014Order/ProceduralFiled Order Granting Motion. The clerk of this court shall file the brief of amicus curiae received on August 19, 2014. The State shall have 20 days from the date of this order to file a response.14-31149




09/19/2014BriefFiled Brief of Nevada Attorneys For Criminal Justice as Amicus Curiae in Support of Petitioner Brian Clay.14-31150




09/24/2014Notice/OutgoingIssued Notice Scheduling Oral Argument. Oral argument is scheduled Wednesday, November 5, 2014, at 11:30 a.m. in Carson City.  Argument shall be limited to 30 minutes.14-31754




10/03/2014BriefFiled Real Party in Interest's Response to Amicus Brief.14-32891




10/16/2014MotionFiled Stipulation and Order to Continue Hearing Date on Oral Argument.14-34418




10/22/2014Notice/OutgoingIssued Oral Argument Reminder Notice.14-35271




10/23/2014Order/ProceduralFiled Order Approving Stipulation.  The oral argument presently scheduled for Wednesday, November 5, 2014, at 11:30 a.m. is vacated.  The clerk of this court shall schedule this appeal for oral argument before the court on the next available calendar.  Argument shall be limited to 30 minutes.14-35366




	




						 
					 
				 
			 
		
	
 


